                                Case 2:20-mj-01000 Document 1 Filed 06/15/20 Page 1 of 1
$2 5HY &ULPLQDO&RPSODLQW DSSURYHGE\$86$
                                                          Livermore)


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                                                                                     IRUWKH
                                                               (DVWHUQ'LVWULFWRI3HQQV\OYDQLD

                     8QLWHG6WDWHVRI$PHULFD
                                Y
                                                                                                   &DVH1R 20-MJ-1000
                             PETER FRATUS



                                Defendant(s)


                                                              CRIMINAL COMPLAINT
            ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                                 June 6, 2020                           LQWKHFRXQW\RI            Philadelphia        LQWKH
       Eastern              'LVWULFWRI                Pennsylvania                 WKHGHIHQGDQW V YLRODWHG

               Code Section                                                                          Offense Description
 18 U.S.C. § 875(c)                                         Interstate threatening communications




            7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV

 See attached Affidavit.




            ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
            u

                                                                                                                      /s/ Joshua J. Hubiak
                                                                                                                      Complainant’s signature

                                                                                                            Joshua J. Hubiak, Special Agent, FBI
                                                                                                                       Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH


'DWH              June 15, 2020                                                                              /s/ The Honorable Marilyn Heffley
                                                                                                                         Judge’s signature

&LW\DQGVWDWH                                 Philadelphia, PA                                             HON. MARILYN HEFFLEY, USMJ
                                                                                                                       Printed name and title
